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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
 TRACI WOLBERT                                                          CASE NUMBER

                                                         Plaintiff(s)             SACV16-00009 JLS (DFMx)
                                 v.
                                                                                ORDER ON APPLICATION
 QUALITY SYSTEMS, INC., NEXTGEN                                         OF NON-RESIDENT ATTORNEY TO APPEAR
 HEALTHCARE INFORMATION SYSTEMS, and DOES
                                                                           IN A SPECIFIC CASE PRO HACE VICE
 1 through 10, INCLUSIVE,

                                                       Defendant(s).

The Court, having reviewed proof of payment of the applicable fee and accompanying Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
La Fiura, Andrew D.                                                     of     Jackson Lewis P.C.
Applicants Name (Last Name, First Name & Middle Initial)
                                                                               Three Parkway
(267) 319-7802                               (215) 399-2249                    1601 Cherry Street, Suite 1350
Telephone Number                             Fax Number                        Philadelphia, PA 19102
     andrew.lafiura@jacksonlewis.com
                           E-Mail Address                                    Firm Name & Address
for permission to appear and participate in this case on behalf of
Defendant Quality Systems, Inc.
Defendant Nextgen Healthcare Information Systems


Name(s) of Party(ies) Represented                                [ ] Plaintiff       Defendant     [ ] Other:
and designating as Local Counsel
Sandoval, Cynthia S.                                                           Jackson Lewis P.C.
Designee’s Name (Last Name, First Name & Middle Initial)                       5000 Birch Street, Suite 5000
191390                                (949) 885-1360                           Newport Beach, CA 92660
Designee’s Cal. Bar Number            Telephone Number
                                      (949) 885-1380
                                      Fax Number                             Firm Name & Address
                                                                                    sandovac@jacksonlewis.com
                                                                                            E-Mail Address
hereby ORDERS the Application be:
[X] GRANTED.
[ ] DENIED. Fee shall be returned by the Clerk.
[ ] DENIED. For failure to pay the required fee.
Dated February 12, 2016                                                             JOSEPHINE L. STATON
                                                                                        U.S. District Judge


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